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4 _ Page io #:108
AO 93 (Rev. l l/|3) Search and Seiziire Warrant (USAO CDCA Rcv. 04/|'.")

UNITED STATE:__];_ISTRICT CouRT GR\GENAL

Central District of California

ln the Matter of the Search of

(Briefiy describe the property to be searched
or iden!i'j§» ine person by name and address)

Case No. lS-MJ-Zl 75

930 FIGUEROA TERRACE, APT. 743,
LOS ANGELES, CALIFORN[A, 90012

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney f`or the government requests the search
of the following person or property located in the Central _______ District of ___ Ca|ifornia

 

(ideni{[v the person or describe the property to be searched and give irs location)!

See Attachrnent A»l

l find that the affidavit(s), or any recorded testiinony_. establish probable cause to search and seize the person or property
described above, and that such search will reveal (i'demi'fy she person or describe die pi-eperiy ie be seized):

See Attachinent B
Such affidavit(s) or testimony are incorporated herein by reference.

YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its
iSSUanCB (noi to exceed 14 days)

[:] in the daytime 6:00 a.m. to lO:()O p.m. I:] at any time in the day or night because good cause has been established

Unless delayed notice is authorized below1 you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
the U.S. Magistrate Judge on duty at the time of the
return through a filing with the Cler_l_<_'s Off`ice
(Uni`ted Smres Mcrgi`s!rcr!e erdge)

[] Pursuarit to 18 U.S.C. § 3 103a(b), l find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2105 (except for delay of trial), and authorize the officer executing this warrant to delay not` to the person who, or whose
property, will be searched or seized (check rlie appropriaie box)

as required by law and promptly return this warrant and inventory to

   
 

 

 

l:l for ____ days nmi re exceed 30) l:l Lintil. the facts justifying1 the later speci ic dat
' §
Date and time issued: §/_ZQ/_I_S______ ___ _ _[_Q f _ __
!// \/ Jiidge 's signature l
City and state: Los Angeles_. QA____ _____ HON. GAlL J. STANDlSH

 

 

Pri`nled name and title

AUSA: R. BACON. l4667

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_ Page |D #:109
AO 93 (Rev. l li'l3) Search and Seizurc Warrant (Pagc 2)
Return
Case No.: Date and ime warrant executed: y of warrant and inv ntory left with:
li lfl:l: 2.|?5 Zkz 13 OG~'€>OH!Y) C/€pp p`fer‘/ee$/ ce,

 

Inventoryi§,p de_:__ int e presence of:
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Inventorv ofejf theC property taken and _nime of anv oerson(sl seized:

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Certii`ication

 

l declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: Z_Zéq/AQZZ __ ___
E.recziting officer` s signature
; § g l’ ri'ni‘ed name and MUH'H¢A_

 

 

 

 

 

